Case 3:19-bk-30822       Doc 211    Filed 07/13/20 Entered 07/14/20 10:00:14            Desc Main
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 This document has been electronically entered in the records of the United
 States Bankruptcy Court for the Southern District of Ohio.

 IT IS SO ORDERED.




 Dated: July 13, 2020




                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION AT DAYTON

 In Re:                                              :
                                                     :       Chapter 7 (Involuntary)
          TAGNETICS, INC.                            :
                                                     :       Case No. 3: 19-bk-30822
                                                     :
                                                     :       Judge Guy R. Humphrey
                       Alleged Debtor                :
                                                     :


   AGREED ORDER GRANTING CONTINUANCE OF HEARING ON MOTION FOR
                 RELIEF FROM AUTOMATIC STAY FOR
           LEASEHOLD AT 3415 U.S. RTE. 36, PIQUA, OHIO 45356,
                         (Docket Nos. 183 & 209)


          This matter comes before the Court on the motion of Creditor/Movant Piqua Troy

 Investments, LLC, (“Piqua Troy”)for a for a continuance of the hearing on Piqua Troy’s pending

 Motion for Relief from the Automatic Stay (Doc.# 183) currently scheduled before the Court on July

 22, 2020 at 1:30PM. For good cause shown, said Motion is well taken. It is therefore ORDERED

 that said hearing is continued to 1:30 p.m. on the 12th day of August, 2020, before Judge Guy R.

 Humphrey in the West Courtroom, U.S. Bankruptcy Court, 120 West Third Street, Dayton, OH

 45402.
Case 3:19-bk-30822                Doc 211         Filed 07/13/20 Entered 07/14/20 10:00:14                                   Desc Main
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                                                                          IT IS ALL SO ORDERED.
 Respectfully submitted,

 STEWART and STEWART LAWYERS, Ltd.

 By: /s/Bryan K. Stewart
 Bryan K. Stewart, #0042122
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 Tipp City, Ohio 45371
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 s/s Stephen B. Stern per email 7/10/2020
 Stephen B. Stern, Admitted Pro Hac Vice
 Attorney for Alleged Debtor Tagnetics, Inc.
 KAGAN, STERN MARINELLO &BEARD, LLC
 238 West Street
 Annapolis, MD 21401
 (410) 216-7900; fax: (410) 705-0836
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 Copies to:

 Default List Plus Additional Parties:

 Ronald E. Early                                                          Jonathan Hager
 6429 Winding Tree Dr.                                                    842 Paint Bank Road
 New Carlisle, OH 45344                                                   Salem, VA 24153
 Petitioning Creditor                                                     Petitioning Creditor

 Kenneth W. Kayser                                                        Robert Strain
 P.O. Box 115                                                             427 Artell St.
 Catawba, VA 24070                                                        Macengo, IL 60152
 Petitioning Creditor                                                     Petitioning Creditor

 S-Tek, Inc.                                                              Tagnetics, Inc.
 1100 Wayne St.                                                           3415 U.S. Rte 36
 Suite 5000                                                               Piqua, OH 45356
 Troy, OH 45373                                                           Alleged Debtor
 Petitioning Creditor
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